              IN THE UNITED STATES COURT OF FEDERAL CLAIMS


CONNECTICUT YANKEE ATOMIC                       )
POWER COMPANY                                   )
                                                )
                        Plaintiff,              )
                                                )
                  v.                            )   No. 17-673C
                                                )
THE UNITED STATES                               )
                                                )
                        Defendant.              )
________________________________________________)
                                                )
MAINE YANKEE ATOMIC                             )
POWER COMPANY                                   )
                                                )
                        Plaintiff,              )
                                                )
                  v.                            )   No. 17-674C
                                                )
THE UNITED STATES                               )
                                                )
                        Defendant.              )
________________________________________________)
                                                )
YANKEE ATOMIC ELECTRIC COMPANY                  )
                                                )
                        Plaintiff,              )
                                                )
                  v.                            )   No. 17-675C
                                                )
THE UNITED STATES                               )
                                                )
                        Defendant.              )
________________________________________________)


                            JOINT STIPULATIONS
        Pursuant to the Court’s August 24, 2018 Order and Appendix A, ¶ 17 of the Rules of

the United States Court of Federal Claims, Plaintiffs Connecticut Yankee Atomic Power

Company (“Connecticut Yankee”), Maine Yankee Atomic Power Company (“Maine

Yankee”), and Yankee Atomic Electric Company (“Yankee Atomic”) (collectively, “Yankees”

or “Plaintiffs”), and Defendant United States (“the Government”) respectfully submit the

following joint stipulations for trial.

        1.      Each Plaintiff formerly operated a nuclear power plant that has been shut-down

and decommissioned for over a decade.

        2.      Connecticut Yankee’s sole nuclear power plant was located in Haddam Neck,

Connecticut. Connecticut Yankee stopped producing power in 1996, and completed

decommissioning of its power plant in 2007. Connecticut Yankee’s Independent Spent Fuel

Storage Installation (“ISFSI”), the spent nuclear fuel and high-level nuclear waste (collectively,

“SNF”) it stores, and certain buildings related to SNF storage are all that presently remain at

the Haddam Neck site.

        3.      Maine Yankee’s sole nuclear power plant was located in Wiscasset, Maine.

Maine Yankee stopped producing power in 1996, and completed decommissioning of its power

plant in 2005. Maine Yankee’s ISFSI, the SNF it stores, and certain buildings related to SNF

storage are all that presently remain at the Wiscasset site.

        4.      Yankee Atomic’s sole nuclear power plant was located in Rowe, Massachusetts.

Yankee Atomic stopped producing power in 1992, and completed decommissioning of its

power plant in 2007. Yankee Atomic’s ISFSI, the SNF it stores, and certain buildings related

to SNF storage are all that presently remain at the Rowe site.




                                                  1
       5.      Under the Nuclear Waste Policy Act of 1982 (“NWPA”), the United States,

acting through the Department of Energy (“DOE”), in 1983 entered into a contract with each

Yankee utility pursuant to which DOE, in return for payment of substantial fees by each

Yankee utility, is obligated to accept and permanently dispose of spent nuclear fuel and high-

level nuclear waste (collectively, “SNF”) generated by the commercial nuclear power plant

owned and operated by each Yankee utility (the “Standard Contract”).

       6.      Under the Standard Contract, the Government was to commence acceptance of

SNF by January 31, 1998.

       7.      The Government did not commence acceptance of SNF by January 31, 1998.

To date, DOE has not yet accepted SNF under the Standard Contract.

       8.       In Phase I of this litigation, the Court established that the Government was

liable for partial breach of the Standard Contract. Yankee Atomic Elec. Co. v. United States, 42

Fed. Cl. 223 (1998), aff’d by, Maine Yankee Atomic Power Co. v. United States, 225 F.3d 1336

(Fed. Cir. 2000).

       9.      This is the fourth round of lawsuits the Yankees have filed against the United

States seeking damages for DOE’s continuing breach of its obligation to accept each Yankee

utility’s SNF. In this round of litigation, each Yankee utility seeks to recover costs incurred for

the period January 1, 2013 through December 31, 2016 (“Phase IV”).

       10.     The Court determined in the last phase of litigation—Phase III— that, had the

Government performed under the Standard Contract, Maine Yankee would have been out of

business by the end of 2008, while Connecticut Yankee and Yankee Atomic each would have

been out of business by the end of 2010. Yankee Atomic Elec. Co. v. United States, 125 Fed.

Cl. 641, 644 (2016).



                                                 2
       11.         During this claim period, each Yankee utility has maintained its corporate

existence only due to the SNF stored at its site.

       12.         In this phase of litigation, the Yankees initially claimed a total of $104,991,994

in damages. The Yankees revised their claims throughout the audit and discovery process.

The Yankees presently claim a total of $104,360,215 in damages, broken down by company as

follows:

                                         CY                   MY                      YA                Total  
             Initial Claim   $        41,254,078       $     34,976,848       $     28,761,068    $   104,991,994  
               Agreed‐to 
                             $            (171,442)    $        (195,928)     $        (264,409)      $         (631,779) 
            Adjustments 
           Current Claim    $        41,082,636        $     34,780,920       $     28,496,659    $   104,360,215  


       13.         Of these total claimed costs, the Government does not dispute that the Yankees

incurred costs in the amount of $103,272,459. As to these undisputed costs, the Government

concedes that such costs represent costs incurred to reasonably operate and maintain the

Yankees’ SNF storage facilities as a result of DOE’s partial breach of the Standard Contract.

The undisputed costs are broken down by company as follows:

                                         CY                 MY                    YA                   Total 
           Undisputed Costs         $40,740,462          $34,432,687          $28,099,310           $103,272,459



       14.         The remaining, disputed costs amount to $1,087,757. Although the

Government does not concede that it is liable for any of the disputed costs included in the

Yankees’ damages claims, the parties agree that during Phase IV the Yankees actually incurred

these costs, which are supported by adequate contemporaneous documentation for the

particular activity to which they have been assigned in the Yankees’ accounting systems.

These disputed costs are broken down by category and amount as follows:



                                                            3
                                                   CY                       MY                          YA                        Total 
Benefits Administration Costs   $              307,078                $           271,194      $           331,641    $            909,913 
     General Counsel Services   $                 30,852   $             30,852                $             30,852    $              92,555 
        Legal Fees ‐ Wrongful 
                                 $                          ‐     $             40,980          $                      ‐      $              40,980 
                 Termination 
        Legal Fees ‐ Asbestos   $                   4,245   $               5,208              $             14,167    $              23,620 
          Property Disposition    $                          ‐        $                      ‐     $             13,778    $              13,778 
    Walter Plumb Monument    $                          ‐     $                      ‐     $               6,912    $                6,912 
                             $              342,174   $           348,233   $           397,349    $        1,087,757 


          Health and Welfare Benefits Administration Costs (all Yankees)

         15.       At all relevant times, the Yankees have provided welfare benefits to employees

actively at work (“active employees”) as well as eligible former employees (“retirees”). Each

Yankee utility has a separate welfare benefits plan that determines who is eligible and how

benefits are paid.

         16.       As part of their welfare benefits plans, the Yankees offer post-retirement

benefits to certain eligible active employees and retirees. These post-retirement benefits

include medical, prescription drug, dental and life insurance. For eligible current retirees, the

plans provide insurance coverage that varies by company and retiree based on such criteria as

age, years of service, and date of retirement. With respect to some active employees, the plans

promise to provide insurance coverage in the future, after the employee retires, if the employee

meets certain eligibility criteria.

         17.       Each Yankee utility funds its post-retirement welfare benefits in an external

trust which qualifies as a voluntary employees’ beneficiary association (“VEBA trust”) under

the Internal Revenue Code.

         18.       To maintain and administer their welfare benefits plans, the Yankees use third-

party vendors who provide legal, human resources, audit, actuarial, and accounting services.


                                                                 4
        19.         The Yankees claim as damages certain costs incurred during Phase IV

associated with administering their welfare benefits plans. Although the parties do not agree on

whether these costs are recoverable, they stipulate that the Yankees actually incurred the

$909,913 in disputed costs related to welfare benefits administration.

        These disputed benefits administration costs are broken down by company and vendor

as follows:

                                        CY                           MY                             YA                         Total 
          Verrill Dana   $         77,538                  $                 8,125          $            100,749        $            186,412  
    CBAS (Karen Cox)   $       117,189                     $            116,710             $            117,397        $            351,295  
                     Savitz    $         69,785            $            102,605            $               69,422       $            241,812  
          Berry Dunn   $         42,565                    $               42,565          $               42,565       $            127,695  
                  Marcum    $                  ‐     $                 1,190               $                 1,509      $                 2,699  
                                  $       307,078          $            271,194    $            331,641                 $            909,913  


              a. Verrill Dana: In Phase IV, the Yankees paid $186,412 in disputed costs to

                    Verrill Dana LLP, the Yankees’ legal counsel for benefits-related issues. The

                    disputed costs paid to Verrill Dana are broken down by company and year as

                    follows:



                                     CY                         MY                                 YA                       Total 
        2013              $               17,357       $                        ‐       $               23,156     $               40,513  
        2014              $               16,875      $                 6,363           $               30,532     $               53,770  
        2015              $               16,577      $                     929         $               21,800     $               39,306  
        2016              $               26,731      $                     833         $               25,261     $               52,825  
                                                                                                                   $             186,412  




                                                                         5
                    b. CBAS (Karen Cox): In Phase IV, the Yankees paid $351,2951 in disputed costs

                       to Karen Cox, the benefits manager for all three Yankee companies. The

                       disputed costs paid to Karen Cox are broken down by company and year as

                       follows:

                                       CY                          MY                            YA                            Total 
             2013           $               37,148       $               29,118       $               29,118       $               95,384  
             2014           $               22,651       $               30,201       $               30,680       $               83,533  
             2015           $               31,060       $               31,060       $               31,268       $               93,389  
             2016           $               31,730       $               31,730       $               31,730       $               95,189  
                                                                                                                   $             367,494  
                                                                                                                                              Govt. 
                                                                                                                   $             (16,199)      offset 
                                                                                                                   $             351,295  


                    c. Savitz: In Phase IV, the Yankees paid $241,812 in disputed actuarial services

                       costs to The Savitz Organization. The disputed costs paid to Savitz are broken

                       down by company and year as follows:

                                       CY                          MY                           YA                          Total 
            2013            $               16,275       $               21,725      $               15,787       $               53,787  
            2014            $               15,500       $               27,800      $               16,325       $               59,625  
            2015            $                 7,200      $               10,075      $                 7,025      $               24,300  
            2016            $               30,810       $               43,005      $               30,285       $             104,100  
                                                                                                                  $             241,812  




1
 The disputed costs consist of the costs of Ms. Cox’s services less a $16,199 offset asserted by the
Government in favor of the Yankees.

                                                                     6
                d. Berry Dunn: In Phase IV, the Yankees paid $127,695 in disputed welfare plan

                   audit costs to Berry Dunn LLP. The disputed costs paid to Berry Dunn during

                   are broken down by company and year as follows:

                                    CY                      MY                        YA                     Total 
           2013          $               11,200   $               11,200   $               11,200   $               33,600 
           2014          $               10,500   $               10,500   $               10,500   $               31,500 
           2015          $               10,250   $               10,250   $               10,250   $               30,750 
           2016          $               10,615   $               10,615   $               10,615   $               31,845 
                                                                                                                            $             127,695 


                e. Marcum: In Phase IV, the Yankees paid $2,699 in disputed accounting services

                   costs to Marcum LLP. The disputed costs paid to Marcum during Phase IV are

                   broken down by company and year as follows:

                                  CY                              MY                                 YA                                Total 
          2013          $                        ‐      $                        ‐         $                        ‐        $                         ‐    
          2014          $                        ‐      $                        ‐         $                        ‐        $                         ‐    
          2015          $                        ‐      $                        ‐         $                        ‐        $                         ‐    
          2016          $                        ‐      $                 1,190           $                 1,509            $                  2,699  
                                                                                                                             $                  2,699  


                          Costs for General Counsel Services (all Yankees)

          20.      The Yankees claim as damages the annual retainer paid to Yankees’ General

Counsel Joseph Fay, Esq. during Phase IV. The Government contests $92,555 of such costs on

the grounds that they relate to time Mr. Fay spent on the Yankees’ SNF litigation matters.

Without agreeing upon the recoverability of these costs, the parties stipulate that the Yankees

actually incurred the $92,555 in disputed costs related to Mr. Fay’s compensation. These

disputed costs are broken down by company as follows:

                             CY                          MY                             YA                       Total 

                              $30,852                      $30,852                      $30,852                      $92,555 


                                                                         7
                          Property Disposition Costs (Yankee Atomic only)

           21.     Yankee Atomic claims as damages costs incurred to evaluate the potential sale

    of a portion of its site for a wind energy project. Without agreeing upon the recoverability of

    these costs, the parties stipulate that Yankee Atomic actually incurred the $13,778 in disputed

    costs related to property disposition consulting services.

              Costs Associated with Wrongful Termination Suit (Maine Yankee only)

           22.     Maine Yankee claims as damages costs incurred to defend and settle a wrongful

    termination claim asserted by a former Maine Yankee security force member. Without

    agreeing upon the recoverability of these costs, the parties stipulate that Maine Yankee actually

    incurred the $40,980 in disputed costs related to such claim. These disputed costs are broken

    down as follows: $27,480 in legal fees, and $13,500 in settlement payment.

                         Costs Related to Asbestos Litigation (all Yankees)

           23.     The Yankees claim as damages costs related to two asbestos litigation matters.

    Without agreeing upon the recoverability of these costs, the parties stipulate that the Yankees

    actually incurred the $23,620 in disputed costs related to such matters. These disputed costs

    are broken down by company as follows:

                            CY              MY               YA             Total 
                             $4,245           $5,208             $14,167      $23,620 


                        Costs for Wayne Plumb Memorial (Yankee Atomic)

           24.     Yankee Atomic claims as damages costs incurred for a stone monument to

    commemorate a former security officer. Without agreeing upon the recoverability of these

    costs, the parties stipulate that Yankee Atomic actually incurred the $6,912 in disputed costs

    related to the stone monument.


                                                       8
                      Termination of Welfare Benefits Plans in the Non-Breach World

        25.        Had the Government performed under the Standard Contract, the Yankees

would have terminated their welfare benefits plans and disposed of their VEBA trust assets

prior to going out of business. Assuming Government performance as determined in the prior

litigation phases, the parties stipulate as follows:

              a.   Maine Yankee, as part of its efforts to wind down the company, would have

                   terminated its welfare benefits plan in 2006.

              b. Connecticut Yankee and Yankee Atomic, as part of their wind-down efforts,

                   would have each terminated its welfare benefits plan in 2008.

              c. As part of its going-out-of-business strategy, each Yankee utility would have

                   disposed of the plan assets held in each company’s respective VEBA trust by

                   “cashing out” the trust and disbursing available assets to eligible plan

                   participants as cash. Eligible plan participants receiving cash distributions

                   would have been those participants who qualified for post-retirement welfare

                   benefits as of the termination date for each respective welfare benefits plan.

        26.        The parties agree that they are entering into the stipulations to paragraphs 1

through 26 to obviate the need to introduce evidence at trial with respect thereto. The parties

further agree that they have conducted their own due diligence as to each stipulation.




                                                     9
Respectfully submitted,

/s/ Robert H. Stier, Jr.           JOSEPH A. HUNT
ROBERT H. STIER, JR.               Assistant Attorney General
PIERCE ATWOOD LLP
254 Commercial Street
Portland, ME 04101                 ROBERT E. KIRSCHMAN,
rstier@pierceatwood.com            JR.
Telephone: (207) 791-1100          Director
Facsimile: (207) 791-1350

Of Counsel:                        /s Lisa L. Donahue
                                   LISA L. DONAHUE
LUCUS A. RITCHIE                   Assistant Director
lritchie@pierceatwood.com
PIERCE ATWOOD LLP
                                   /s Margaret J. Jantzen
MICHAEL J. DERDERIAN               MARGARET J. JANTZEN
mderderian@pierceatwood.com        Trial Attorney
PIERCE ATWOOD LLP                  U.S. Department of Justice
                                   Civil Division
 Attorneys for Plaintiffs          Commercial Litigation Branch
                                   P.O. Box 480, Ben Franklin
                                   Station
 DATED: December 18, 2018          Washington, DC 20044
                                   Tel: (202) 353-7994
                                   Margaret.j.jantzen@usdoj.gov

                                   Attorneys for Defendant




                              10
                                  CERTIFICATE OF FILING

         I certify that on this 18th day of December, 2018, a copy of the foregoing JOINT
STIPULATIONS was filed electronically. I understand that notice of this filing will be sent to
all parties by operation of the Court’s electronic filing system. Parties may access this filing
through the Court’s system.

                                             /s Robert H. Stier, Jr.




                                                11
